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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------x
MICHAEL ROMAIN,                                                              DKT#:

                                   Plaintiff,                            COMPLAINT

            - against -                                                  JURY TRIAL DEMANDED

                                                                         ECF CASE
CITY OF NEW YORK, and
DETECTIVE JOSEPH FRANCO (SHIELD 7972);
POLICE OFFICER EVANS BELLAVOIX (SHIELD 7408)
UNDERCOVER POLICE OFFICER 391 (UC 391) of the Narcotics Borough Manhattan South
POLICE OFFICER “JOHN DOE” #1 through #10,
individually and in their official capacity.
 (the name “John Doe” being fictitious, or an alias,
as the true names are presently unknown),

                                    Defendants.
--------------------------------------------------------------------x
         Plaintiff, MICHAEL ROMAIN, by his attorneys, Sophia Solovyova and James
Meyerson, complaining of the defendants, respectfully sets forth and alleges that:
                                             I. INTRODUCTION
    1. Plaintiff brings this action for compensatory damages, punitive damages, and attorney’s
fees pursuant to 42 U.S.C §§ 1983 and 1988, for violations of the plaintiff’s civil rights under the
said statutes and the Constitutions of the State of New York and the United States.
                                                     II. JURISDICTION
    2. Jurisdiction of this Court is invoked pursuant to and under 28 U.S.C. Sections 1331, 1343
and 1367 (supplemental jurisdiction), in conjunction with the Civil Rights Act of 1871, 42
U.S.C. Section 1983, in conjunction with the Fourth and Fourteenth Amendments to the United
States Constitution and the laws.
    3. The plaintiff also invokes the jurisdiction of this Court in conjunction with the
Declaratory Judgment Act, 28 U.S.C. Sections 2201, et seq., this being an action in which the
Plaintiff seeks, in addition to monetary damages, whatever other relief is needed to provide full
and complete justice including, if appropriate, declaratory and injunctive relief.




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    4. The pendent state law claims arise out of a common nucleus of operative facts that give
rise to the federal claims. This is an action in which the plaintiff seeks relief for the violation of
his rights as guaranteed under the laws and Constitution of the United States.
                                                  III. VENUE
    5. Venue resides in this Court pursuant to 28 U.S.C. Section 1391 (b) because the events
giving rise to the asserted claims took place in the geographic boundaries of this District.
                                            IV. JURY DEMAND
    6. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the plaintiff requests a
jury trial on the merits of his several claims.
                                    V. CONDITIONS PRECEDENT
   7.      Notice of Plaintiff’s claims, the nature of the claims and the date, time, place and the
manner in which the claims arose was duly served upon the City of New York on September 13,
2018.
   8.      Plaintiff submitted to a 50-H hearing as requested and conducted by defendants.
  9.       More than thirty days have elapsed since the Notice of claim has been served upon
defendants and the said defendants have neglected or refused to make any adjustment or payment
thereof.
  10.      This action was commenced within one year and ninety days after the causes of action
arose.
                                              VI. PARTIES
  11.      The plaintiff, MICHAEL ROMAIN, is an African American male and a resident of the
City and State of New York.
  12.      Defendant, The City of New York, was and is a municipal corporation organized and
existing under and by virtue of the laws of the State of New York.
  13.      The City of New York maintains the New York City Police Department, authorized to
perform all functions of a police department as per the applicable section of the New York State
Criminal Procedure Law, acting under the direction and supervision of the aforementioned
municipal corporation, the City of New York.
  14.      That at all times hereinafter mentioned, the individually named defendants, were duly
sworn police officers of the City of New York Police Department and were acting under the
supervision of said department and according to their official duties.



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   15.   That at all relevant times, the defendants, either personally or though their employees,
were acting under color of state law and /or in compliance with the official rules, laws,
regulations, statutes, usages and/or practices of the State of New York and the City of New York.
   16.   That each and all of the acts of the defendants alleged herein were done by said
defendants while acting within the scope and in the furtherance of their employment by
defendant, City of New York.
   17.   Upon information and belief, Defendant Police Officer John Doe #1 through 10, a natural
person, was an employee of Defendant City and is being sued individually and in his or her
official capacity.
                                      VII. FACTUAL ALLEGATIONS
   18.   On or about June 26, 2018, at approximately 5 PM, the plaintiff stood outside a store on
Broadway between 27th and 28th Streets in Manhattan speaking with two acquaintances while
waiting to start his afternoon shift as a delivery person for a food app. The conversation was
about FIFA World Cup soccer championship taking place that week. Several other men
unfamiliar to the plaintiff joined the conversation.
   19.   Shortly thereafter, about 7 or 8 undercover NYPD officers appeared on the scene and
proceeded to arrest Mr. Romain. The plaintiff was searched but no contraband or currency was
recovered from him. Nevertheless, the plaintiff was arrested, handcuffed, placed into the back of a
police van, and transported to the precinct. On information and belief, the plaintiff was targeted
by the defendant police officers because of his race as an African American.
   20.   Detective Joseph Franco, Officer Evans Bellavoix, Undercover Officer 391, and several
John Does of the Narcotics Borough Manhattan South participated in the arrest of the plaintiff.
The officers placed handcuffs very tightly on the plaintiff and refused to loosen them when he
complained. As a result of being handcuffed in this matter for approximately two hours, the
plaintiff sustained bruising on his wrists.
  21.    The plaintiff was transported to Central Bookings where he was fingerprinted,
  photographed, and searched.
   22.    While plaintiff was being detained, the defendants individually and/or
collectively completed arrest paperwork, in which they swore in part, that the plaintiff had
committed a crime under NYPL §221.40 (Criminal Sale of Marijuana in the 4th Degree).
   23.   The factual claims by the defendant officers were materially false and the



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defendant officers knew them to be materially false at the time they first made them,
and every time thereafter when they repeated them.
  24.   The defendant officers forwarded these false allegations to the New York County
District Attorney (“NYCDA”) in order to justify the arrest and to cause the NYCDA to
formally commence the plaintiff’s criminal prosecution. As a direct result of these false
allegations by the defendant police officers; the plaintiff was criminally charged under
Docket Number 2018NY028036.
  25.   After spending about 24 hours in custody, the plaintiff was released on his own
recognizance at about 4pm the next day. On September 5, 2018, the plaintiff’s criminal charges
were dismissed on the motion of the District Attorney. The plaintiff was subject to criminal
prosecution in New York County Criminal Court from June 26, 2018 to September 5, 2018.
  26.   There was no probable cause or other lawful basis for the June 26, 2018 stop, detention
and eventual custodial arrest of the plaintiff by the New York City Police Officers, each of whom
is an agent and employee of the City of New York.
 27.    The plaintiff was unlawfully stopped and detained on June 26, 2018 since there was no
 basis whatsoever (reasonable suspicion or otherwise) for the stop and detention; and he was
 subjected to a false arrest, unlawful search, and unlawful custodial detention and imprisonment;
 and the plaintiff was subjected to unreasonable and unnecessary force associated with his stop,
 detention, and custodial arrest and as well to unnecessary, excessive and unreasonable terms
 and conditions of his custodial arrest.
 28.    There was no probable cause basis or other legitimate law enforcement justification for
 charging the plaintiff with criminal activity.
 29.    Such preferral of the charges against the plaintiff was malicious; and it was not designed
 to advance of a legitimate law enforcement purposes but, rather, to advance a personal end.
 30.    The plaintiff was subjected to excessive and unnecessary and unreasonable physical force
 by Defendants.
 31.    The actions and conduct of the Defendant officers, individually and collectively and
 independent of each other and together collectively, violated rights guaranteed to the plaintiff
 under the Civil Rights Act of 1871, 42 U.S.C. Section 1983 and the Fourth, and Fourteenth
 Amendments to the United States Constitution.
 32.    On information and belief, it was the policy and/custom of the City of New York and its



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Police Department to inadequately screen, hire, train, supervise and discipline its police
officers, including the Defendant officers, for their propensity for violence, excessive force and
restraint, for racial bias, and for their failure to protect citizens from unconstitutional conduct of
other police officers, thereby permitting and allowing the Defendant officers to be in a position
to assault, unlawfully restrain, falsely arrest, and unlawfully imprison Plaintiff; and otherwise
cause him injury and violate his state and federal constitutional rights.
33.   On information and belief, the Defendant officers have been the subject of prior civilian
and departmental complaints that put, or should have put, the Defendant City of New York and
its Police Department on notice that the defendant officers were likely to engage in conduct that
would violate the civil and constitutional rights of the public, such as the conduct complained of
by the Plaintiff herein.
34.   Furthermore, the City of New York and its Police Department did not require appropriate
in-service training or re-training of officers who were known to have engaged in police
misconduct.
35.   As a result of the above described policies and customs, police officers of the City of
New York, including the Defendant officers, believed that their actions would not be properly
monitored by supervisory officers and that misconduct would not be investigated or sanctioned
but would be tolerated.
36.   The above described policies, practices, and customs demonstrated a deliberate
indifference on the part of the policymakers of the City of New York to the state and federal
guaranteed constitutional and statutory rights of persons within the City.
37.   The above described policies and practices and customs propelled the actions and
conduct of the Defendant police officers.
38.   The plaintiff was unlawfully stopped and detained, and unlawfully searched, and falsely
arrested and subjected to malicious prosecution and to the malicious abuse of criminal process
and to excessive and unreasonable and unnecessary force and excessive and unreasonable
conditions of his stops, detentions, and custodial arrests.
39.   The actions, conduct, policies and practices and customs herein described interfered with
the plaintiff’s right to a fair trial and violated the plaintiff’s rights as guaranteed under the
Fourth and Fourteenth Amendments to the United States Constitution and the Civil Rights Act
of 1871, 42 U.S.C. Section 1983.



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40.   The plaintiff suffered injuries and damages including loss of liberty, fear, anxiety, mental
distress, emotional anguish, and psychological trauma and physical pain and suffering.
41.   The plaintiff has not yet placed a monetary value on the damages which he incurred
although he believes them to be substantial and to include compensatory and punitive damages.
42.   The plaintiff has no other adequate remedy at law but for the institution of this litigation.


                                       VIII. CAUSES OF ACTION
                                      FIRST CAUSE OF ACTION
  43. The plaintiff reiterates Paragraph #’s 1 through 42 and incorporates such by reference
      herein.
  44. On June 26, 2018, the plaintiff was unlawfully stopped and detained and arrested in
      violation of his rights as guaranteed under the Fourth and Fourteenth Amendments to the
      United States Constitution and the Civil Rights Act of 1871, 42 U.S.C. Section 1983.
  45. The Plaintiff suffered injuries and damages.
                                     SECOND CAUSE OF ACTION
  46. The plaintiff reiterates Paragraph #’s 1 through 45 and incorporates such by reference
      herein.
  47. The plaintiff was subjected to malicious prosecution as part of his arrest and preferral of
      charges against him associated therewith the June 26, 2018 arrest, which were propelled
      by malice, in violation of rights guaranteed to the Plaintiff under the Fourth Amendment
      to the United States Constitution and the Civil Rights Act of 1871, 42 U.S.C. Section
      1983.
  48. The plaintiff suffered injuries and damages.
                                      THIRD CAUSE OF ACTION
  49. The plaintiff reiterates Paragraph #’s 1 through 48 and incorporates such by reference
      herein.
  50. The plaintiff was subjected to excessive and unreasonable detention and to excessive and
      unnecessary and unreasonable physical force [related to his handcuffing] and to
      unnecessary and unreasonable and excessive terms and conditions of his seizure in
      violation of his rights as guaranteed under the Fourth and Fourteenth Amendments to the




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   United States Constitution, the Civil Rights Act of 1871, 42 U.S.C. Section 1983, and the
   laws and Constitution of the State of New York.
51. The plaintiff suffered injuries and damages.
                                  FOURTH CAUSE OF ACTION
52. The plaintiff reiterates Paragraph #’s 1 through 51 and incorporates such by reference
   herein.
53. Following the plaintiff's arrest, the defendant officers searched and/or strip-searched
   and/or caused the plaintiff and/or his property to be searched without any individualized
   reasonable suspicion that he was concealing weapons or contraband. As a result of the
   foregoing, the plaintiff was subjected to an illegal and improper search. The foregoing
   unlawful search violated the plaintiff’s constitutional right to privacy, as guaranteed by
   the Fourth, Fifth and Fourteenth Amendments to the United States Constitution.
54. The plaintiff suffered injuries and damages.


                                    FIFTH CAUSE OF ACTION
55. The plaintiff reiterates Paragraph #’s 1 through 54 and incorporates such by reference
   herein.
56. Each defendant officer had an affirmative duty to intervene on the plaintiff’s behalf to
   prevent the violation to his constitutional rights, as more fully set forth above. Each
   defendant officer failed to intervene on the plaintiff’s behalf to prevent the violation of
   his constitutional rights, despite having had a realistic and reasonable opportunity to do
   so.
57. The plaintiff suffered injuries and damages.

                                   SIXTH CAUSE OF ACTION
58. The plaintiff reiterates Paragraph #’s 1 through 57 and incorporates such by reference
   herein.
59. Each defendant officer created false evidence against the plaintiff and forwarded false
   evidence and false information to the prosecutors in the New York County District
   Attorney’s office.
60. Each defendant officer was directly involved in the initiation and continuation of criminal



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       proceedings against the plaintiff.
   61. Each defendant officer misrepresented and falsified evidence and/or withheld exculpatory
       evidence throughout all phases of the criminal proceeding.
   62. By creating false evidence against the plaintiff; forwarding false evidence and
       information to the prosecutors; and by providing false and misleading testimony
       throughout the criminal proceedings, each defendant officer violated the plaintiff’s
       constitutional right to a fair trial under the Due Process Clause of the Fourth and
       Fourteenth Amendments to the United States Constitution.
   63. The plaintiff suffered injuries and damages.


                                       SEVENTH CAUSE OF ACTION
   64. The Plaintiff reiterates Paragraph #’s 1 through 63 and incorporates such by reference
       herein.
   65. The policies, practices and customs, including the unconstitutional policy and practice of
       targeting individuals based on racial profiling still employed operationally by the NYPD,
       herein described propelled the actions and conduct herein. Those policies, practices, and
       customs violated the Plaintiff’s rights under the Fourth and Fourteenth Amendments to
       the United States Constitution and the Civil Rights Act of 1871, 42 U.S.C. Section 1983.
   66. The Plaintiff suffered injuries and damages.


                                       PENDANT STATE CLAIMS
                                       FIRST CLAIM FOR RELIEF
 FALSE ARREST, MALICIOUS PROSECUTION, ASSAULT AND BATTERY UNDER
                              NEW YORK STATE COMMON LAW
       67.       plaintiff repeats, reiterates and realleges each and every allegation contained in
paragraphs numbered “1” though “65” with the same force and effect as if fully set forth herein.
       68.       Defendants were directly and actively involved in the arrest, and initiation and
continuation of criminal proceedings against MICHAEL ROMAIN.
       69.       Defendants lacked probable cause to arrest and initiate and to continue criminal
proceedings against MICHAEL ROMAIN.




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       70.     Defendants acted with malice in initiating and continuing criminal proceedings
against MICHAEL ROMAIN.
       71.     The criminal proceedings were terminated in MICHAEL ROMAIN’s favor when
all criminal charges against him were dismissed on September 5, 2018 on the motion of the
District Attorney.
       72.     As a result of the foregoing, Plaintiff’s liberty was restricted for an extended
period of time and Plaintiff was put in fear for his safety, was humiliated and subjected to
handcuffing, strip-search, and other physical restraints and inappropriate touching, all without
probable cause and plaintiff sustained loss of earnings, loss of enjoyment of life, loss of liberty,
emotional distress, mental anguish, embarrassment, and humiliation, shame, indignity, damage to
reputation, incurred monetary costs, and deprivation of his constitutional rights.
                                SECOND CLAIM FOR RELIEF
                                          NEGLIGENCE
   73. The plaintiff repeats, reiterates and realleges each and every allegation contained in
paragraphs numbered “1” through “72” with the same force and effect as if fully set forth herein.
   74. That Defendants had a duty to Plaintiff to refrain from subjecting him to malicious
prosecution.
   75. That the Defendants breached that duty when they subjected Plaintiff to malicious
prosecution.
   76. The plaintiff’s injuries were proximately related to the actions of the Defendants.
   77. That the foregoing injuries sustained by the Plaintiff were caused solely by reason of the
carelessness, negligence, wanton and willful disregard on the part of the Defendants and without
any negligence on the part of the Plaintiff, contributing thereto.
                                 THIRD CLAIM FOR RELIEF
                                 NEGLIGENT SUPERVISION
   78. Plaintiff repeats, reiterates and realleges each and every allegation contained in
paragraphs numbered “1” through “77” with the same force and effect as if fully set forth herein.
   79. Defendant CITY OF NEW YORK is required to supervise its various agents,
servants, and employees, employed by the Defendant CITY OF NEW YORK.




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    80. That CITY OF NEW YORK created an unreasonable risk of harm to Plaintiff by failing
to adequately supervise, control or otherwise monitor the activities of its employees, servants,
and/or agents, including the defendants in this case.
    81. That the defendant, CITY OF NEW YORK, caused damages by way of its negligent
supervision; and, the Plaintiff is entitled to recover against defendants for his injuries, damages
and losses caused by defendant, CITY OF NEW YORK.
                                FOURTH CLAIM FOR RELIEF
                                    NEGLIGENT TRAINING
    82. Plaintiff repeats, reiterates and realleges each and every allegation contained in
paragraphs numbered “1” through “81” with the same force and effect as if fully set forth herein.
    83. Defendant CITY OF NEW YORK is required to adequately train its various agents,
servants, and employees, including the defendants in this matter.
    84. Defendant CITY OF NEW YORK created an unreasonable risk of harm to plaintiff by
failing to adequately train its various agents, servants, and employees, including the defendants
in this matter.
    85. That the defendant, CITY OF NEW YORK, caused damages by way of its negligent
training; and, the plaintiff is entitled to recover against defendants for his injuries, damages and
losses caused by defendant.
                                 FIFTH CLAIM FOR RELIEF
                    VICARIOUS LIABILITY and RESPONDEAT SUPERIOR


    86. Plaintiff repeats, reiterates and realleges each and every allegation contained in
paragraphs numbered “1” through “85” with the same force and effect as if fully set forth herein.
    87. That the corporate defendant, CITY OF NEW YORK, is liable to the plaintiff for the acts
and omissions and negligence of its various agents, servants, and employees, including the
defendants in this matter., under the legal theories of “Vicarious Liability” and “Respondeat
Superior”.
                           DAMAGES AND RELIEF REQUESTED
The plaintiff suffered injuries and damages.
WHEREFORE and in light of the foregoing, it is respectfully requested that the Court assume
jurisdiction and:



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               [a] Invoke the jurisdiction of this Court.

               [b] Award appropriate compensatory and punitive damages.

               [c] Award appropriate declaratory and injunctive relief.

               [d] Empanel a jury.

               [e] Award attorney’s fees and costs.

               [f] Award such other and further relief as the Court deems to be in the
               interest of justice.

Dated: New York, NY
       February 17, 2019
                                                    By:     _______/s/_______________
                                                            Sophia Solovyova, Esq.
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